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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )            CRIM. NO. 06-00080 (02) SOM
                              )
          Plaintiff,          )
                              )            ORDER DENYING FOURTH MOTION
     vs.                      )            FOR NEW TRIAL (DOCKET
                              )            NO. 1271)
RODNEY JOSEPH, JR. (02),      )
                              )
          Defendant.          )
_____________________________ )

      ORDER DENYING FOURTH MOTION FOR NEW TRIAL (DOCKET NO. 1271)

I.           INTRODUCTION.

             On March 20, 2009, after a lengthy trial, Defendant

Rodney Joseph, Jr., was convicted of various crimes.               See Verdict

Form as to Defendant (02) Rodney Joseph, Jr., (March 20, 2009)

(Docket No. 1090).       On July 10, 2009, he filed his appeal.           On

January 28, 2010, Joseph filed a fourth motion for new trial,

arguing that the Government had failed to disclose impeaching

evidence concerning Jonnaven Monalim, a Government trial witness.

Joseph says that, on September 29, 2009, he discovered that

Monalim might have received Government assistance in connection

with a state parole revocation hearing held two years earlier, in

October 2007.      Joseph says that the state parole board gave

Monalim special treatment in 2007, allowing Monalim to “walk-in”

to the hearing, rather than be arrested and brought to the

hearing by law enforcement officials.         Joseph notes that,

although the parole board revoked Monalim’s parole, it set a

relatively short review time of three-months.            Because the parole
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board noted at the October 2007 hearing that it was taking into

account Monalim’s substantial assistance to federal authorities,

Joseph contends that, under Brady v. Maryland, 373 U.S. 83

(1963), the Government should have disclosed that assistance to

Joseph for use in his trial.      See Strickler v. Greene, 527 U.S.

263, 280 (1999) (Brady requires disclosure of impeachment and

exculpatory evidence to the accused).      Joseph argues that,

pursuant to Rule 33 of the Federal Rules of Criminal Procedure,

he is entitled to a new trial.

            Joseph’s fourth motion for a new trial is denied.

Because Joseph has appealed his judgment and conviction to the

Ninth Circuit Court of Appeals, the motion is procedurally

barred.   This court also declines to indicate a willingness to

grant the motion for a new trial if the Ninth Circuit were to

remand the matter because the newly discovered evidence is merely

impeaching and would not have made a difference at trial.

II.         ANALYSIS.

            Rule 33(a) of the Federal Rules of Criminal Procedure

provides: “Upon the defendant’s motion, the court may vacate any

judgment and grant a new trial if the interest of justice so

requires.    If the case was tried without a jury, the court may

take additional testimony and enter a new judgment.”            The burden

of justifying a new trial rests with the defendant, see United

States v. Endicott, 869 F.2d 452, 454 (9th Cir. 1989), and a


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“motion for new trial is directed to the discretion of the

judge.”    United States v. Pimentel, 654 F.2d 538, 545 (9th Cir.

1981); accord United States v. Mack, 362 F.3d 597, 600 (9th Cir.

2004) (reviewing the denial of a motion for new trial under Rule

33(a) under an abuse of discretion standard).         “A district

court’s power to grant a motion for a new trial is much broader

than its power to grant a motion for judgment of acquittal,

United States v. Alston, 974 F.2d 1206, 1211 (9th Cir. 1992), as

a new trial may be granted by the district court when the

“interest of justice so requires.”      Fed. R. Crim. P. 33(a).

            Joseph’s Rule 33 motion is procedurally barred, as a

Rule 33 motion for a new trial “grounded on newly discovered

evidence” may not be granted by this court when an appeal is

pending.    See Fed. R. Crim. P. 33(b)(1) (“If an appeal is

pending, the court may not grant a motion for new trial until the

appellate court remands the case.”).      Joseph appealed his

conviction, sentence, and judgment to the Ninth Circuit on July

10, 2009.    See Notice of Appeal (July 10, 2009) (Docket

No. 1159).    Accordingly, this court denies Joseph’s motion.           The

court notes in addition that, for the reasons set forth below, it

declines to indicate a willingness to grant the motion if the

Ninth Circuit were to remand the matter.




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          The Ninth Circuit applies a five-part test for

determining whether a new trial should be afforded a defendant.

The defendant must prove:

          (1) the evidence is newly discovered; (2) the
          defendant was diligent in seeking the
          evidence; (3) the evidence is material to the
          issues at trial; (4) the evidence is not
          (a) cumulative or (b) merely impeaching; and
          (5) the evidence indicates the defendant
          would probably be acquitted in a new trial.

United States v. Hinkson, 585 F.3d 1247, 1264 (9th Cir. 2009) (en

banc) (citing United States v. Harrington, 410 F.3d 598, 601 (9th

Cir. 2005)).   Of course, the latter three factors are somewhat

duplicative.   See, e.g. United States v. Krasny, 607 F.2d 840,

845 n.3 (9th Cir. 1979) (noting that the requirement “that the

newly discovered evidence be Material and that it Probably would

produce an acquittal on retrial, are really two means of

measuring the same thing”).

          The court is not questioning whether Joseph could

establish the first and second prongs of the test--that the

evidence was newly discovered and that he was diligent in seeking

that evidence.   The court knows of no reason that Joseph should

have known about the Government’s alleged involvement in

Monalim’s October 2007 state parole revocation proceeding.             The

problem with Joseph’s argument is that the evidence does not

satisfy the third, fourth, and fifth prongs of the test.            That

is, even assuming the Government was required by Brady to tell


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Joseph that Monalim had received assistance from the Government

in connection with his parole revocation proceeding (a

determination that this court is not making and recognizes that

the Government would object to), the evidence is merely

impeaching.   The evidence did not go to the substance of

Monalim’s testimony, but instead to his credibility.             As such,

the evidence is also cumulative, as the jury already knew that

Monalim had been cooperating with the Government in hopes of

receiving favorable treatment.      If that evidence were introduced

at a new trial, it is unlikely that the new trial would result in

an acquittal given the overwhelming evidence presented by the

Government.   Because Joseph fails to satisfy the five-part test

for a new trial, he fails to establish that a new trial is

required in the “interest of justice.”         Accordingly, the court

declines to indicate a willingness to grant Joseph’s fourth

motion for a new trial.

          To the extent Joseph has requested that this court

strike the Government’s opposition to his motion, that request is

denied.   Joseph filed his fourth motion for a new trial on

January 28, 2010.    On February 2, 2010, this court ordered the

parties to submit opposition and reply memoranda pursuant to the

nonhearing motion schedule set forth in the local rules.             Joseph

says that the Government untimely filed its opposition on

February 23, 2010, and therefore asks that it be stricken.              While


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Joseph is correct in noting that the Government filed its

opposition late, Joseph asserts no prejudice.              His request is

therefore denied.

III.         CONCLUSION.

             For the foregoing reasons, Joseph’s fourth motion for a

new trial is denied.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, March 12, 2010.



                                         /s/ Susan Oki Mollway
                                        Susan Oki Mollway
                                        Chief United States District Judge



United States of America v. Joseph, Crim. No. 06-00080 SOM (02); ORDER DENYING
FOURTH MOTION FOR NEW TRIAL (DOCKET NO. 1271)




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